             Case 2:11-cr-00118-MCE Document 46 Filed 02/27/12 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, U.S.V.I. Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ANTONIO SANCHEZ-GAONA
7
8                             IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       )           No.   2:11-CR-00118 MCE
11                                   )
                    Plaintiff,       )           STIPULATION AND ORDER
12                                   )           TO RESET MOTION HEARING
          v.                         )
13                                   )
     ANTONIO SANCHEZ-GAONA           )
14                  Defendant.       )           Date: March 22, 2012
                                     )           Time: 9:00 a.m.
15   _______________________________ )           Judge: Hon. Morrison C. England
16
           IT IS HEREBY STIPULATED between the parties, MICHAEL ANDERSON,
17
     Assistant United States Attorney, for plaintiff United States of America,
18
     on   the   one   hand,    and    DOUGLAS   BEEVERS,   Assistant   Federal   Defender,
19
     attorney for defendant ANTONIO SANCHEZ-GAONA that the date for the
20
     hearing on defendant’s          motion to suppress be continued from February 23,
21
     2012, to March 22, 2012.
22
           The reason for the continuance is due to the fact that defense
23
     counsel is unavailable for the present date due to an unforseen family
24
     emergency. The parties agree a continuance is necessary for this purpose,
25
     and agree to exclude time under the Speedy Trial Act accordingly.
26
     / / /
27
28
           Case 2:11-cr-00118-MCE Document 46 Filed 02/27/12 Page 2 of 3


1         IT IS STIPULATED that the period from the signing of this Order, up
2    to and including January 12, 2012 be excluded in computing the time
3    within which trial must commence under the Speedy Trial Act, pursuant to
4    18 U.S.C. § 3161(h)(1)(D) and Local Code E, for pretrial motions.
5
6    Dated: February 22, 2012               Respectfully submitted,
7                                           DANIEL BRODERICK
                                            Federal Defender
8
9                                           /s/ Douglas Beevers
                                            DOUGLAS BEEVERS
10                                          Assistant Federal Defender
                                            Attorney for Defendant
11                                          ANTONIO SANCHEZ-GAONA
12
     Dated: February 22, 2012               BENJAMIN B. WAGNER
13                                          United States Attorney
14
                                            /s/ Michael Anderson
15                                          MICHAEL ANDERSON
                                            Assistant United States Attorney
16                                          Attorney for Plaintiff
17
18
19
20
21
22
23
24
25
26
27
28                                          2
            Case 2:11-cr-00118-MCE Document 46 Filed 02/27/12 Page 3 of 3


1                                          ORDER
2            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    hereby ordered that the Motion Hearing currently set for February 23,
4    2012 shall be vacated and reset for March 22, 2012 at 9:00am. Based on
5    the representation of defense counsel and good cause appearing therefrom,
6    the Court hereby finds that the failure to grant a continuance in this
7    case   would   deny   defendant   reasonable   time   necessary   for   effective
8    preparation, taking into account the exercise of due diligence. The Court
9    finds that the ends of justice to be served by granting a continuance
10   outweigh the best interests of the public and the defendant in a speedy
11   trial. It is ordered that time from the date of this Order, up to and
12   including, March 22, 2012 be excluded from computation of time within
13   which the trial of this matter must be commenced under the Speedy Trial
14   Act pursuant to 18 U.S.C. § 3161(h)(1)(D)and Local Code E, for pretrial
15   motions.
16
     Dated: February 24, 2012
17
18                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
19
                                           UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28                                           3
